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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

                          Plaintiff,

 v.

 JPMORGAN CHASE BANK, N.A.,

                          Defendant/Third-Party       Case No. 22-cv-10904 (JSR)
                          Plaintiff.


 JPMORGAN CHASE BANK, N.A.,

 Third-Party Plaintiff,

 v.

 JAMES EDWARD STALEY,

 Third-Party Defendant.


                     DEFENDANT JPMORGAN CHASE BANK, N.A.’S
                     ANSWER TO SECOND AMENDED COMPLAINT
                    AND STATEMENT OF AFFIRMATIVE DEFENSES

       Defendant JPMorgan Chase Bank, N.A. (“JPMC”) hereby files its Answer and Statement

of Affirmative Defenses to the Second Amended Complaint of Plaintiff Government of the

United States Virgin Islands, Case No. 22-cv-10904 (JSR), ECF No. 119 (the “SAC”), as

follows:

       To the extent the headings or jury demand in the SAC require a response, JPMC denies

the allegations contained therein.

       To the extent the first un-numbered paragraph of the SAC requires a response, JPMC

admits that Plaintiff purports to bring this action under the specified statutes, but denies that

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Plaintiff is entitled to damages or any other relief. JPMC otherwise denies the allegations in that

paragraph.

                                             PARTIES

       1.      JPMC admits that the Attorney General of the United States Virgin Islands

purports to bring this action as a parens patriae action on behalf of the Plaintiff pursuant to the

statutes cited. JPMC denies that the Attorney General has the authority to bring this action and

denies that the claims brought in this action have any merit.

       2.      By order dated March 20, 2023, the Court dismissed Count Four and thus no

response is required.

       3.      JPMC lacks knowledge or information sufficient to form an opinion as to the truth

of the allegations in the first sentence of paragraph 3, and on that basis denies them. The

remaining allegations in paragraph 3 are conclusions of law and thus no response is required. To

the extent a response is required, JPMC denies the remaining allegations in paragraph 3.

       4.      JPMC is a national bank chartered by the Office of the Comptroller of the

Currency, with its main office in New York, New York. JPMC denies the remaining allegations

in paragraph 4.

       5.      Denied.

       6.      The allegations in paragraph 6 purport to state conclusions of law or characterize

the contents of other allegations in the SAC and thus no response is required. JPMC respectfully

refers the Court to those specific allegations. To the extent a response is required, JPMC denies

the allegations.

       7.      The allegations in paragraph 7 are conclusions of law to which no response is

required. To the extent a response is required, JPMC denies the allegations.



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                     JURISDICTION, VENUE, AND RELATED CASE

       8.      JPMC admits that Plaintiff purports to bring this action pursuant to the statutes

and regulations cited. JPMC denies that the claims brought in this action have any merit.

       9.      The allegations in paragraph 9 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC admits that this Court has subject-matter

jurisdiction over Plaintiff’s sole surviving TVPA claim following the Court’s March 20, 2023

order and otherwise denies the allegations in paragraph 9.

       10.     By order dated March 20, 2023, the Court dismissed Plaintiff’s Virgin Islands law

claims and thus no response is required. To the extent a response is required, JPMC denies the

allegations in paragraph 10.

       11.     The allegations in paragraph 11 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC does not contest that the Court has personal

jurisdiction over JPMC as to the sole surviving claim following the Court’s March 20, 2023

order, but JPMC denies the remaining allegations in paragraph 11.

       12.     The allegations in paragraph 12 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC admits that the Court has accepted this case

as related to the case cited, but denies the remaining allegations in paragraph 12.

                                        BACKGROUND

       13.     The allegations in paragraph 13 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC admits the allegations in paragraph 13.

       14.     The allegations in paragraph 14 purport to characterize the contents of federal

statutes and thus no response is required. JPMC respectfully refers the Court to the language of

those laws for a complete and accurate recitation of their contents. The allegations in paragraph



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14 are, moreover, conclusions of law to which no response is required. To the extent a response

is required, JPMC denies the allegations in paragraph 14.

       15.     Admitted.

       16.     The allegations in paragraph 16 purport to characterize or quote from the contents

of a public document and thus no response is required. To the extent a response is required,

JPMC respectfully refers the Court to the document for a complete and accurate recitation of its

contents.

       17.     The first, second, and third sentences of paragraph 17 purport to characterize or

quote from the contents of a public document and thus no response is required. JPMC

respectfully refers the Court to the document for a complete and accurate recitation of its

contents. The allegations in the fourth sentence of paragraph 17 are conclusions of law to which

no response is required. To the extent a response is required, JPMC denies the allegations in the

fourth sentence of paragraph 17.

       18.     The allegations in paragraph 18 purport to characterize or quote from the contents

of a public document and thus no response is required. JPMC respectfully refers the Court to the

document for a complete and accurate recitation of its contents.

       19.     By order dated March 20, 2023, the Court dismissed Plaintiff’s CICO Act claims,

and thus no response is required.

       20.     JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 20, and on that basis denies them.

       21.     The allegations in paragraph 21 purport to characterize the contents of public

documents. JPMC respectfully refers the Court to those documents for a complete and accurate

recitation of their contents. To the extent a response is required, JPMC lacks knowledge or



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information sufficient to form a belief as to the truth of the allegations in paragraph 21, and on

that basis denies them.

       22.     JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 22, and on that basis denies them.

       23.     The allegations in paragraph 23 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. The allegations in the second

and third sentences of paragraph 23 are, moreover, conclusions of law to which no response is

required. To the extent a response is required, JPMC lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in paragraph 23, and on that basis denies them.

       24.     The allegations in paragraph 24 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. The allegations in paragraph 24

are, moreover, conclusions of law to which no response is required. To the extent a response is

required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 24, and on that basis denies them.

       25.     The allegations in paragraph 25 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. To the extent a response is

required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 25, and on that basis denies them.

       26.     The allegations in paragraph 26 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that



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document for a complete and accurate recitation of its contents. To the extent a response is

required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 26, and on that basis denies them.

       27.     The allegations in paragraph 27 are conclusions of law to which no response is

required. To the extent a response is required, JPMC lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in paragraph 27, and on that basis denies them.

       28.     The allegations in paragraph 28 are conclusions of law to which no response is

required. To the extent a response is required, JPMC lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in paragraph 28, and on that basis denies them.

       29.     The allegations in paragraph 29 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. To the extent a response is

required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 29, and on that basis denies them.

       30.     The allegations in paragraph 30 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. To the extent a response is

required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 30, and on that basis denies them.

       31.     The allegations in paragraph 31 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. To the extent a response is




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required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 31, and on that basis denies them.

       32.     The allegations in paragraph 32 are conclusions of law to which no response is

required. To the extent a response is required, JPMC lacks knowledge of information sufficient

to form a belief as to the truth of the allegations in paragraph 32, and on that basis denies them.

       33.     The allegations in paragraph 33 purport to characterize the contents of a document

attached to the SAC and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. To the extent a response is

required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 33, and on that basis denies them.

                                         ALLEGATIONS

       34.     Denied.

       35.     JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 35, and on that basis denies them.

       36.     JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 36, and on that basis denies them.

       37.     JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 37, and on that basis denies them.

       38.     JPMC admits that Epstein pled guilty to felony solicitation of prostitution and

procurement of minors to engage in prostitution, that he was sentenced to 18 months in jail, and

that he was required to register as a sex offender.

       39.     The allegations in paragraph 39 purport to characterize the contents of a public

document, and thus no response is required. JPMC respectfully refers the Court to that

document for a complete and accurate recitation of its contents. To the extent a response is
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required, JPMC lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 39, and on that basis denies them.

       40.     The allegations in paragraph 40 purport to characterize or quote from the contents

of public documents, and thus no response is required. JPMC respectfully refers the Court to

those documents for a complete and accurate recitation of their contents. To the extent a

response is required, JPMC lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 40, and on that basis denies them.

       41.     JPMC admits that Epstein maintained accounts at JPMC between 1998 and 2013,

and denies the remaining allegations in paragraph 41.

       42.     The allegations in paragraph 42 purport to characterize the contents of financial

records and thus no response is required. JPMC respectfully refers the Court to those records for

a complete and accurate recitation of their contents. The allegations in the first and second

sentences of paragraph 42 are, moreover, conclusions of law and thus no response is required.

To the extent a response is required, JPMC denies the allegations in paragraph 42.

       43.     Denied.

       44.     The allegations in paragraph 44 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 44.

       45.     The allegations in paragraph 45 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 45.



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       46.     The allegations in paragraph 46 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 46.

       47.     The allegations in paragraph 47 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 47.

       48.     The allegations in paragraph 48 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 48.

       49.     The allegations in paragraph 49 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 49.

       50.     The allegations in paragraph 50 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 50.

       51.     The allegations in paragraph 51 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a




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complete and accurate recitation of their contents. To the extent that a response is required,

JPMC denies the allegations in paragraph 51.

        52.    JPMC admits that James Staley was the CEO of JPMC’s Asset Management line

of business from 2001 to 2009 and from 2009 to 2013 was the CEO of JPMC’s Investment

Banking line of business. JPMC lacks knowledge or information sufficient to form a belief as to

the truth of the allegation that James Staley “developed a close relationship with Epstein” during

the time period alleged, and on that basis denies those allegations. JPMC denies the remaining

allegations in paragraph 52.

        53.    The allegations in paragraph 53 purport to characterize or summarize documents,

and thus no response is required. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent a response is required, JPMC

admits that James Staley exchanged emails with Epstein from Staley’s JPMC email and other

email accounts between 2008 and 2012. JPMC lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in paragraph 53, and on that basis denies

them.

        54.    The allegations in the first, second, and third sentences of paragraph 54 purport to

characterize or quote from documents and thus require no response. JPMC respectfully refers

the Court to those documents for a complete and accurate recitation of their contents. To the

extent that a response is required, JPMC lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in the first, second, and third sentences of paragraph 54,

and on that basis denies them. JPMC lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in the fourth sentence of paragraph 54, and on that basis denies

them.



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       55.     The allegations in the first and second sentences of paragraph 55 purport to

characterize or quote from documents and thus require no response. JPMC respectfully refers

the Court to those documents for a complete and accurate recitation of their contents. To the

extent a response is required, JPMC lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in the first and second sentences of paragraph 55, and on that basis

denies them. JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in the third sentence of paragraph 55, and on that basis denies them.

       56.     The allegations in paragraph 56 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent a response is required, JPMC

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 56, and on that basis denies them.

       57.     The allegations in paragraph 57 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents.

       58.     The allegations in paragraph 58 purport to characterize or quote from documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent a response is required, JPMC

lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

paragraph 58, and on that basis denies them.

       59.     The allegations in paragraph 59 purport to characterize the contents of documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents.



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       60.     The allegations in paragraph 60 purport to characterize the contents of documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent a response is required, JPMC

lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

paragraph 60, and on that basis denies them.

       61.     The allegations in paragraph 61 purport to characterize the contents of documents

and thus require no response. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents.

       62.     JPMC lacks knowledge or information sufficient to form a belief as to the

allegations in the first and third sentences of paragraph 62, and on that basis denies them. JPMC

denies the allegations in the second sentence of paragraph 62.

       63.     JPMC admits that in 2013 JPMC communicated to Epstein that JPMC decided to

exit Epstein as a banking client. JPMC denies the remaining allegations in paragraph 63.

       64.     JPMC lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 64, and on that basis denies them.

       65.     The allegations in paragraph 65 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       66.     JPMC lacks knowledge or information sufficient to respond to the allegations in

the first and second sentences of paragraph 66, and on that basis denies them. The allegations in

the third sentence of paragraph 66 purport to characterize the contents of documents. JPMC

respectfully refers the Court to those documents for a complete and accurate recitation of their

contents. To the extent a response is required, JPMC lacks knowledge or information sufficient




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to form a belief as to the truth of the allegations in the third sentence of paragraph 66, and on that

basis denies them. JPMC denies the allegations in the fourth sentence of paragraph 66.

       67.     JPMC lacks knowledge or information sufficient to respond to the allegations in

the first sentence of paragraph 67, and on that basis denies them. The allegations in the second

and third sentences of paragraph 67 purport to characterize or quote from documents. JPMC

respectfully refers the Court to those documents for a complete and accurate recitation of their

contents. To the extent a response is required, JPMC lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in the second and third sentences of paragraph

67, and on that basis denies them. JPMC denies the allegations in the fourth sentence of

paragraph 67. The allegations in the fifth sentence of paragraph 67 purport to characterize,

summarize, or quote from a document attached to the SAC. JPMC respectfully refers the Court

to the document for a complete and accurate recitation of its contents. To the extent a response

is required, JPMC denies the allegations in the fifth sentence of paragraph 67.

       68.     JPMC lacks knowledge or information sufficient to respond to the allegations in

paragraph 68, and on that basis denies them.

       69.     JPMC denies the allegations in the first sentence of paragraph 69. The allegations

in the second sentence of paragraph 69 purport to characterize or quote from documents. JPMC

respectfully refers the Court to those documents for a complete and accurate recitation of their

contents. To the extent a response is required, JPMC denies the allegations in the second

sentence of paragraph 69. JPMC denies the allegations in the third sentence of paragraph 69.

       70.     JPMC admits that in 2013 JPMC communicated to Epstein that JPMC decided to

exit Epstein as a banking client. JPMC denies the remaining allegations in paragraph 70.




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       71.     JPMC lacks knowledge or information sufficient to respond to the allegations in

the first sentence of paragraph 71, and on that basis denies them. The allegations in the second

sentence of paragraph 71 purport to characterize the contents of other allegations in the SAC and

thus no response is required. To the extent a response is required, JPMC respectfully refers the

Court to those specific allegations.

       72.     JPMC lacks knowledge or information sufficient to respond to the allegations in

the first sentence of paragraph 72, and on that basis denies them. JPMC denies the allegations in

the second sentence of paragraph 72.

       73.     The allegations in paragraph 73 purport to characterize or quote from documents.

JPMC respectfully refers the Court to those documents for a complete and accurate recitation of

their contents. To the extent a response is required, JPMC denies the allegations in paragraph

73.

       74.     The allegations in paragraph 74 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       75.     JPMC denies the allegations in the first sentence of paragraph 75. The allegations

in the second and third sentences of paragraph 75 are conclusions of law, and thus no response is

required. To the extent a response is required, JPMC denies the allegations in the second and

third sentences of paragraph 75. The allegations in the fourth sentence of paragraph 75 purport

to characterize or quote from a document. JPMC respectfully refers the Court to that document

for a complete and accurate recitation of its contents. To the extent a response is required, JPMC

denies the allegations in the fourth sentence of paragraph 75.

       76.     The allegations in paragraph 76 purport to characterize, summarize, or quote from

documents. JPMC respectfully refers the Court to those documents for a complete and accurate


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recitation of their contents. To the extent a response is required, JPMC denies the allegations in

paragraph 76. The allegations in the last sentence of paragraph 76 also purport to characterize 31

C.F.R. § 1010.620(b)(3). JPMC respectfully refers the Court to the language of that regulation for

a complete and accurate recitation of its contents.

        77.    The allegations in paragraph 77 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        78.    JPMC admits that in 2013 JPMC communicated to Epstein that JPMC decided to

exit Epstein as a banking client. JPMC admits that, without admitting wrongdoing, it entered

into a consent order with the OCC in January 2013. The remaining allegations in paragraph 78

purport to characterize, summarize, or quote from documents. JPMC respectfully refers the

Court to those documents for a complete and accurate recitation of their contents. To the extent

a response is required, JPMC denies the remaining allegations in paragraph 78.

        79.    JPMC admits that in 2013 JPMC communicated to Epstein that JPMC decided to

exit Epstein as a banking client. JPMC lacks knowledge or information sufficient to respond to

the remaining allegations in paragraph 79, and on that basis denies them.

        80.    The allegations in paragraph 80 purport to characterize, summarize, or quote from

documents. JPMC respectfully refers the Court to those documents for a complete and accurate

recitation of their contents. To the extent a response is required, JPMC lacks knowledge or

information sufficient to respond to the allegations in paragraph 80, and on that basis denies

them.

        81.    The allegations in paragraph 81 purport to characterize, summarize, or quote from

documents. JPMC respectfully refers the Court to those documents for a complete and accurate

recitation of their contents. To the extent a response is required, JPMC lacks knowledge or



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information sufficient to respond to the allegations in paragraph 81, and on that basis denies

them.

        82.    The allegations in paragraph 82 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        83.    The allegations in paragraph 83 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        84.    The allegations in paragraph 84 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        85.    The allegations in paragraph 85 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        86.    JPMC denies the allegations in the first, second, and third sentences of paragraph

86. The allegations in the fourth sentence of paragraph 86 are conclusions of law and thus no

response is required. To the extent a response is required, JPMC denies the allegations in the

fourth sentence of paragraph 86.

        87.    The allegations in paragraph 87 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        88.    The allegations in paragraph 88 purport to characterize federal banking

regulations. JPMC respectfully refers the Court to the language of those regulations for a

complete and accurate recitation of their contents.

        89.    The allegations in paragraph 89 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

        90.    Denied.

        91.    Denied.



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       92.     The allegations in paragraph 92 purport to characterize or quote from the contents

of documents, and thus require no response. JPMC respectfully refers the Court to those

documents for a complete and accurate recitation of their contents.

       93.     The allegations in paragraph 93 purport to characterize or quote from a deposition

taken in this case, and thus no response is required. JPMC respectfully refers the Court to the

transcript of that deposition for a complete and accurate recitation of its contents.

       94.     The allegations in paragraph 94 purport to characterize or quote from documents,

and thus no response is required. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents.

       95.     The allegations in paragraph 95 purport to characterize or quote from documents,

and thus no response is required. JPMC respectfully refers the Court to those documents for a

complete and accurate recitation of their contents. To the extent a response is required, JPMC

denies the allegations in paragraph 95.

        96.    The allegations in paragraph 96 purport to characterize or quote from a deposition

 taken in this case, and thus no response is required. JPMC respectfully refers the Court to the

 transcript of that deposition for a complete and accurate recitation of its contents.

       97.     JPMC denies the allegations in the first and second sentences of paragraph 97.

The allegations in the third sentence of paragraph 97 purport to characterize the contents of

documents, and thus no response is required. JPMC respectfully refers the Court to those

documents for a complete and accurate recitation of their contents.

       98.     JPMC denies the allegations in the first sentence of paragraph 98. The remaining

allegations in paragraph 98 purport to characterize or quote from documents, and thus no




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response is required. JPMC respectfully refers the Court to those documents for a complete and

accurate recitation of their contents.

       99.     The allegations in the first, second, third, fourth, fifth, and sixth sentences of

paragraph 99 purport to characterize or quote from documents, and thus no response is required.

JPMC respectfully refers the Court to those documents for a complete and accurate recitation of

their contents. JPMC lacks knowledge or information sufficient to respond to the allegations in

the seventh sentence of paragraph 99, and on that basis denies them.

         100. The allegations in paragraph 100 purport to characterize or quote from documents,

 and thus no response is required. JPMC respectfully refers the Court to those documents for a

 complete and accurate recitation of their contents. To the extent a response is required, JPMC

 denies the allegations in paragraph 100.

       101.    The allegations in the first sentence of paragraph 101 purport to characterize or

quote from documents, and thus no response is required. JPMC respectfully refers the Court to

those documents for a complete and accurate recitation of their contents. To the extent a

response is required, JPMC denies the allegations in paragraph 101.

                                         CAUSES OF ACTION

                                         COUNT ONE
                          Participating in a Sex-Trafficking Venture
                        Violation of Trafficking Victims Protection Act
                        18 U.S.C. §§ 1591(a)(2), 1595(d) (Parens Patriae)

       102.    JPMC repeats and reasserts each and every response to the allegations asserted in

the foregoing paragraphs with the same force and effect as if fully set forth herein.

       103.    The allegations in paragraph 103 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.




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       104.   The allegations in paragraph 104 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       105.   The allegations in paragraph 105 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       106.   The allegations in paragraph 106 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       107.   The allegations in paragraph 107 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       108.   The allegations in paragraph 108 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       109.   The allegations in paragraph 109 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       110.   The allegations in paragraph 110 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       111.   The allegations in paragraph 111 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       112.   The allegations in paragraph 112 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       113.   The allegations in paragraph 113 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       114.   The allegations in paragraph 114 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.




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       115.    The allegations in paragraph 115 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       116.    The allegations in paragraph 116 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       117.    The allegations in paragraph 117 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       118.    The allegations in paragraph 118 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       119.    The allegations in paragraph 119 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

                                       COUNT TWO
   Criminal Activity—Participating, Directly or Indirectly, in a Sex-Trafficking Venture
          Violation of Trafficking Victims Protection Act, 18 U.S.C. § 1591(a)(2),
  actionable under Virgin Islands Criminally Influenced and Corrupt Organizations Act,
                               14 V.I.C. §§ 604(e) and 605(a)

       120.    JPMC repeats and reasserts each and every response to the allegations asserted in

the foregoing paragraphs with the same force and effect as if fully set forth herein.

       121.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       122.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       123.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       124.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.



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       125.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       126.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       127.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       128.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       129.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

                                    COUNT THREE
       Criminal Activity—Willfully Failing To Comply With Federal Banking Law,
          Violation of Bank Secrecy Act, 31 U.S.C. § 5322(a), as it incorporates
    31 C.F.R. § 1020.320(a) and 31 C.F.R. § 1010.620, actionable under Virgin Islands
   Criminally Influenced and Corrupt Organizations Act, 14 V.I.C. §§ 604(e) and 605(a)

       130.    JPMC repeats and reasserts each and every response to the allegations asserted in

the foregoing paragraphs with the same force and effect as if fully set forth herein.

       131.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       132.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       133.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       134.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.


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       135.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       136.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       137.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       138.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       139.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

                                       COUNT FOUR
                               Unfair Methods of Competition
                         Violation of Virgin Islands Consumer Fraud
                    and Deceptive Business Practices Act, 12A V.I.C. § 304

       140.    JPMC repeats and reasserts each and every response to the allegations asserted in

the foregoing paragraphs with the same force and effect as if fully set forth herein.

       141.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       142.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       143.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       144.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.




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       145.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

       146.    By order dated March 20, 2023, the Court dismissed this Count and thus no

response is required.

                                      COUNT FIVE
              Obstruction of Enforcement of Trafficking Victims Protection Act
                       19 U.S.C. §§ 1591(d),1595(d) (Parens Patriae)

       147.    JPMC repeats and reasserts each and every response to the allegations asserted in

the foregoing paragraphs with the same force and effect as if fully set forth herein.

       148.    The allegations in paragraph 148 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       149.    The allegations in paragraph 149 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       150.    The allegations in paragraph 150 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       151.    The allegations in paragraph 151 purport to characterize the contents of public

documents, and thus no response is required. JPMC respectfully refers the Court to the contents

of those documents for a complete and accurate recitation of their contents. To the extent a

response is required, JPMC admits the allegations in the second and third sentences of paragraph

151. JPMC lacks knowledge or information sufficient to form a belief as to the truth of the first

and fourth sentences of paragraph 151, and on that basis denies them.

       152.    The allegations in the first and third sentences of paragraph 152 are conclusions

of law and thus no response is required. To the extent a response is required, JPMC denies the

allegations in the first and third sentences of paragraph 152. JPMC denies the allegations in the

second sentence of paragraph 152.
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       153.      The allegations in paragraph 153 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       154.      The allegations in paragraph 154 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       155.      The allegations in paragraph 155 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       156.      The allegations in paragraph 156 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       157.      The allegations in paragraph 157 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       158.      The allegations in paragraph 158 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       159.      The allegations in paragraph 159 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       160.      The allegations in the first sentence of paragraph 160 are conclusions of law and

thus no response is required. To the extent a response is required, JPMC denies the allegations

in the first sentence of paragraph 160. JPMC denies the allegations in the second sentence of

paragraph 160.

       161.      JPMC denies the allegations in the first, second, third, and fourth sentences of

paragraph 161. The allegations in the fifth sentence of paragraph 161 are conclusions of law and

thus no response is required. To the extent a response is required, JPMC denies the allegations

in the fifth sentence of paragraph 161.




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       162.      JPMC denies the allegations in the first and second sentences of paragraph 162.

The allegations in the third sentence of paragraph 162 are conclusions of law and thus no

response is required. To the extent a response is required, JPMC denies the allegations in the

third sentence of paragraph 162.

       163.      The allegations in paragraph 163 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       164.      The allegations in paragraph 164 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       165.      JPMC denies the allegations in the first sentence of paragraph 165. The

allegations in the second sentence of paragraph 165 are conclusions of law and thus no response

is required. To the extent a response is required, JPMC denies the allegations.

       166.      The allegations in paragraph 166 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

       167.      The allegations in paragraph 167 are conclusions of law and thus no response is

required. To the extent a response is required, JPMC denies the allegations.

           168. The allegations in paragraph 168 are conclusions of law and thus no response is

 required. To the extent a response is required, JPMC denies the allegations.


                                    REQUEST FOR RELIEF

       JPMC denies that the relief requested is appropriate or warranted.

                                         JURY DEMAND

       To the extent the jury demand requires a response, JPMC denies the allegations contained

therein.

       All allegations in the SAC not specifically admitted or otherwise answered are denied.

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              DEFENDANT’S STATEMENT OF AFFIRMATIVE DEFENSES

        Without assuming any burden of proof that it would not otherwise bear, JPMC asserts the

following defenses. JPMC reserves the right to assert further defenses that may be identified in

the course of further investigation, discovery, or litigation of this action.

                                         FIRST DEFENSE

        Plaintiff’s claims are barred in whole or in part by the applicable statute of limitations.

                                       SECOND DEFENSE

        JPMC’s actions were in full compliance with applicable laws and regulations.

                                         THIRD DEFENSE

        Plaintiff’s claims are barred by the doctrine of res judicata.

                                       FOURTH DEFENSE

        Plaintiff’s claims are barred by the doctrine of collateral estoppel.

                                         FIFTH DEFENSE

        Plaintiff’s claims are barred by the doctrine of in pari delicto.

                                         SIXTH DEFENSE

        Plaintiff’s claims are barred by the doctrine of unclean hands.

                                       SEVENTH DEFENSE

        Plaintiff’s claims are barred by the doctrine of laches.

                                        EIGHTH DEFENSE

        Plaintiff’s damages, to the extent Plaintiff suffered any, should be barred or reduced in

accordance with the doctrines of comparative and contributory negligence or fault.

                                         NINTH DEFENSE

        Plaintiff’s damages, to the extent Plaintiff suffered any, are the result of the conduct of

third parties over whom JPMC exercises no control.


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                                         TENTH DEFENSE

        Plaintiff’s injuries and damages, if any were in fact sustained, were caused in whole or in

part by the criminal acts of third parties not a party to this litigation.

                                      ELEVENTH DEFENSE

        The causes of action asserted and any damages claimed are barred in whole or in part

because, to the extent that any agents or employees committed any actionable acts or omissions,

such acts or omissions were committed outside the scope of authority conferred.

                                       TWELFTH DEFENSE

        The causes of action asserted and any damages claimed are barred in whole or in part

because any damage, loss, or liability alleged must be reduced, diminished, and/or barred in

proportion to any wrongful conduct of persons or entities other than JPMC.

                                     THIRTEENTH DEFENSE

        With respect to Plaintiff’s claims for punitive damages, JPMC asserts that any

determination and enforceability of an award is limited by the common law of New York and the

Due Process Clause of the Fourteenth Amendment of the United States Constitution, including

BMW of N. America v. Gore, 116 U.S. 1589 (1996); Cooper Industries, Inc. v. Leatherman Tool

Group, Inc., 532 U.S. 424 (2001); State Farm Mutual Auto Insurance Co. v. Campbell, 538 U.S.

408 (2003), and their progeny.

                                    FOURTEENTH DEFENSE

        Plaintiff lacks parens patriae standing to pursue its claim(s) under the TVPA.

                                      FIFTEENTH DEFENSE

        JPMC did not have knowledge, constructive or otherwise, of any venture which directly

or indirectly violated 28 U.S.C. §§ 1591 or 1595.




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                                    SIXTEENTH DEFENSE

        JPMC did not have knowledge, constructive or otherwise, that means of force, threats of

force, fraud, coercion, or any combination of such means would be used to cause any person to

engage in a commercial sex act.

                                  SEVENTEENTH DEFENSE

        JPMC did not have knowledge, constructive or otherwise, that a person under the age of

18 would be caused to engage in a commercial sex act.

                                   EIGHTEENTH DEFENSE

        Any knowledge on the part of James Staley (1) of any venture which directly or

indirectly violated 28 U.S.C. §§ 1591 or 1595; (2) that means of force, threats of force, fraud,

coercion, or any combination of such means would be used to cause any person to engage in a

commercial sex act; or (3) that a person under the age of 18 would be caused to engage in a

commercial sex act, is not imputed to JPMC.

                                   NINETEENTH DEFENSE

        JPMC did not participate in any venture which directly or indirectly violated 28 U.S.C.

§§ 1591 or 1595.

                                   TWENTIETH DEFENSE

        JPMC did not knowingly benefit from any participation in any venture which directly or

indirectly violated 28 U.S.C. §§ 1591 or 1595.

                                  TWENTY-FIRST DEFENSE

        JPMC did not obstruct, attempt to obstruct, interfere with, or prevent enforcement of the

TVPA.




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                                TWENTY-SECOND DEFENSE

       JPMC lacked the requisite intent to obstruct, attempt to obstruct, interfere with, or

prevent enforcement of the TVPA.

                                  TWENTY-THIRD DEFENSE

       JPMC did not have any knowledge of any enforcement of the TVPA in connection with

Epstein.

                                TWENTY-FOURTH DEFENSE

       To the extent it is found liable, JPMC reserves the right to seek indemnification from any

party and/or non-party so liable as a matter of law or by contractual right. Nothing contained

herein shall be construed as a waiver of that right.

                                  TWENTY-FIFTH DEFENSE

       The causes of action asserted and any damages claimed are barred in whole or in part

because the statute sued upon is unconstitutionally vague and ambiguous.


 Dated: April 24, 2023                             Respectfully submitted,

                                                   WILMER CUTLER PICKERING
                                                     HALE AND DORR LLP

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